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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

DALLAS COUNTY HOSPITAL                       §
DISTRICT, d/b/a PARKLAND                     §
HEALTH & HOSPITAL SYSTEM,                    §
                                             §
               Plaintiff,                    §
                                             § Civil Action No. 3:15-cv-04063-B
         v.                                  §
                                             §
NEXTGEN HEALTHCARE                           §
INFORMATION SYSTEMS, LLC,                    §
                                             §
               Defendant.                    §

     DEFENDANT NEXTGEN HEALTHCARE INFORMATION SYSTEMS, LLC’S
     ORIGINAL ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM
         Defendant NextGen Healthcare Information Systems, LLC (“NextGen”) files this

Original Answer, Affirmative Defenses, and Counterclaim to Plaintiff’s (“Parkland”) First

Amended Complaint, as follows:

                                         I. ANSWER

         1.    Upon information and belief, admitted.

         2.    NextGen is a California Limited Liability Company with its principal place of

business located at 795 Horsham Road, Horsham, PA 19044. NextGen admits it has appeared

through counsel in this suit.

         3.    Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

         4.    Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

         5.    Admit.

         6.    Admit.

         7.    Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

         8.    Admit.

         9.    The allegations do not fully and accurately state the terms of the documents

referenced. Therefore, NextGen denies the allegations and alleges the documents speak for

themselves.


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         10.   NextGen is without sufficient knowledge or information to form a belief as to the

truth or falsity of the allegations in this paragraph and, therefore, denies them.

         11.   The allegations do not fully and accurately state the terms of the documents

referenced. Therefore, NextGen denies the allegations and alleges the documents speak for

themselves. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

         12.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         13.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         14.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         15.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         16.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         17.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         18.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

         19.   The allegations do not fully and accurately state the terms of the documents

referenced. Therefore, NextGen denies the allegations and alleges the documents speak for

themselves.

         20.   Denied.

         21.   Denied.

         22.   Denied.

         23.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.


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          24.   Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

          25.   The allegations do not fully and accurately state the terms of the document

referenced. Therefore, NextGen denies the allegations and alleges the document speaks for

itself.

          26.   Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

          27.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

          28.   Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

          29.   Denied. See NextGen’s Motion to Dismiss briefing for NextGen’s position.

          30.   NextGen realleges the responses set forth above.

          31.   The allegations do not fully and accurately state the terms of the contract.

Therefore, NextGen denies the allegations and alleges the contract speaks for itself.

          32.   NextGen admits the contract is a valid and enforceable contract. NextGen denies

the remainder of the allegations.

          33.   Denied.

          34.   Denied.

                                II. AFFIRMATIVE DEFENSES
          1.    Parkland failed to satisfy its conditions precedent to sue for breach of contract.

          2.    Parkland failed to mitigate its alleged losses and damages.

          3.    Parkland’s damages, if any, in whole or in part, are the result of its own breaches

                of contract, negligence, or fault not attributable to NextGen.

          4.    Without admitting Parkland is entitled to damages whatsoever, in the event it is

                determined that Parkland is entitled to damages, Parkland’s damages are limited

                by the agreed-upon limitation of liability provision set forth in the contract.

          5.    Parkland’s claims are barred, in whole or part, by waiver and estoppel.

          6.    Parkland’s claims are not ripe. See NextGen’s Motion to Dismiss briefing.

          7.    Parkland’s claims are barred, in whole or part, by its unclean hands.


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         8.    Parkland’s claims are barred, in whole or part, by the defense of offset.

         9.    Parkland is not entitled to its claim for attorneys’ fees.

         10.   Parkland failed to state a claim for which relief can be granted.

                                     III. COUNTERCLAIM

         1.    NextGen is a national provider of Electronic Medical Record (“EMR”) software

               to hospitals and practitioners. EMR software helps medical practitioners manage

               both their clinical practice and the financial (billing and collections) aspect of

               their operations.

         2.    Following a public bid process, in September 2013, District and NextGen entered

               into a Contract for Services, including the Schedules and Pricing Summary

               thereto, (the "Contract") for NextGen’s EMR software. At or about the same

               time, District and NextGen also entered into a Software License and Services

               Agreement Addendum #1 (the "Addendum"), which amended the Contract as

               provided in the Addendum. In exchange, Parkland agreed to pay NextGen certain

               amounts as specified in the Contract.

         3.    NextGen performed and satisfied its obligations under the Contract to the extent

               permitted by Parkland. To the extent NextGen had any conditions precedent to

               recovery, such conditions have occurred or have been excused.

         4.    Parkland materially breached the Contract and caused NextGen injury. Namely,

               Parkland (a) failed to cooperate with NextGen to develop and install the software

               and (b) failed to pay NextGen at least $443,724.39 in invoices that NextGen

               rightfully billed under the Contract. Parkland's failure to pay the rightfully issued

               invoices began and continued during times when NextGen's performance under

               the Contract was ongoing.

         5.    Parkland’s breaches of the Contract have caused NextGen damages in the amount

               of $443,724.39.




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                                                 IV.

                                              PRAYER

         WHEREFORE, PREMISES CONSIDERED, NextGen requests that the Court dismiss

Parkland’s claims against NextGen and enter judgment that (a) Parkland take nothing by this

suit, and (b) NextGen be awarded:

         (a) $443,724.39 for the amount due under the Contract;

         (b) prejudgment and post judgment interest;

         (c) court costs and other recoverable costs;

         (d) attorneys’ fees; and

         (e) all other relief to which NextGen may be justly entitled.


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                                                    ATTORNEYS FOR DEFENDANT
                                                    NEXTGEN HEALTHCARE
                                                    INFORMATION SYSTEMS, LLC

                                    CERTIFICATE OF SERVICE
         The undersigned certifies that on the 20th day of January, 2017, a true and correct copy of

the foregoing document was served on all counsel of record in accordance with the Federal Rules

of Civil Procedure.

                                                              /s/ Matthew E. Last
                                                              MATTHEW E. LAST


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